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                                                    MAY £3 2014
 2                                           CLERK. U.S. DI$TRICT COURT  .I;
                                           EASTERN DISTRICT OF CALIFORNIN!·
 3                                         " ---"IIIiiMY-"'ClWI'I!IID'---­'"
 4

 5                         UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF CALIFORNIA

 7

 8   UNITED STATES OF AMERICA,             No. 2:11-cr-00365-GEB
 9                Plaintiff,
10        v.                               RELEASE ORDER

11   GABINO CUEVAS-HERNANDEZ,

12                Defendant.
13

14        TO UNITED STATES MARSHALL:

15             This Order authorizes and directs you to release GABINO

16   CUEVAS-HERNANDEZ    from    further       confinement       on     the    indicted

17   offense(s) in this case.

18             IT IS SO ORDERED.

19   Dated: May 23, 2014

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                                                                                 Judge
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